                    Case 17-12937-CSS          Doc 204       Filed 11/08/18        Page 1 of 3



                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 7
    Xceligent, Inc.                                       Case No. 17-12937 (CSS)
                       Debtor.                            Related Doc. No. 180, 202

    In re:                                                Chapter 7
    ePropertyData.com, LLC                                Case No. 17-12938 (CSS)
                  Debtor.                                 Related Doc. No. 118, 140

    In re:                                                Chapter 7
    Karnes Research Company, LLC                          Case No. 17-12939 (CSS)
                 Debtor.                                  Related Doc. No. 120, 142

       NOTICE OF SALE FREE AND CLEAR OF LIENS, CLAIMS AND INTERESTS,
           BIDDING PROCEDURES, AUCTION DATE, AND SALE HEARING

          PLEASE TAKE NOTICE THAT:

        1.      On October 5, 2018, Alfred T. Giuliano, in his capacity as chapter 7 trustee (the
“Trustee”) for the Debtors in the above-captioned chapter 7 cases (the “Bankruptcy Cases”)
filed the Motion (the “Motion”) for (A) an Order (I) Establishing Bidding Procedures for the
Sale of Certain of the Debtors’ Assets; (II) Approving Break-Up Fee; (III) Approving Form and
Manner of Sale Notice; and (IV) Scheduling an Auction and a Hearing to Consider the Approval
of the Sale; (B) an Order (I) Approving the Sale of Certain of the Debtors’ Assets Free and Clear
of Claims, Liens and Interests; and (C) Certain Related Relief.1 By the Motion, the Trustee
seeks, inter alia, approval of the sale (the “Sale”) certain of the Debtors’ assets to Digiatech,
LLC (the “Stalking Horse Purchaser”) pursuant to a certain stalking horse asset purchase
agreement by and among the Trustee, as seller, and the Stalking Horse Purchaser (as may be
amended and in effect, the “Stalking Horse Agreement”), subject to higher or otherwise better
offers at the Auction.

        2.    On November 6, 2018, pursuant to the Motion, the Court entered an Order
(the “Bidding Procedures Order”) approving auction and bidding procedures (the “Bidding
Procedures”) in connection with the proposed Sale. A copy of the Motion, the Bidding
Procedures Order, the Bidding Procedures, and Stalking Horse Agreement can be obtained free
of charge by contacting counsel to the Trustee, John T. Carroll at Cozen O’Connor, at
jcarroll@cozen.com.

       3.     The Auction shall take place on November 27, 2018 at 10:00 a.m. (prevailing
Eastern Time) at the offices of Cozen O’Connor, 1650 Market Street, One Liberty Place, Suite
2800, Philadelphia, PA 19103, or such other place and time as the Trustee shall notify all
Qualified Bidders and each of their respective counsel and advisors.

1
  Capitalized terms used herein but not otherwise defined in this Notice (the “Notice”) shall have the meanings
provided in the Bidding Procedures Order, Bidding Procedures, or the Stalking Horse Agreement, as applicable.

LEGAL\38028491\3 00600.9698.000/420979.000
11/08/2018
                    Case 17-12937-CSS        Doc 204   Filed 11/08/18    Page 2 of 3



        4.       Participation at the Auction is subject to the Bidding Procedures and the Bidding
Procedures Order. Any person wishing to bid on the Purchased Spaceful Assets must become a
“Qualified Bidder.” The procedures for becoming a Qualified Bidder are contained in the
Bidding Procedures. A Qualified Bidder desiring to make a bid must deliver written copies of its
Bid by November 21, 2018 at 12:00 p.m. (prevailing Eastern time) (the “Bid Deadline”), to:
(i) the Trustee, Alfred T. Giuliano, Giuliano, Miller & Company, LLC, 140 Bradford Drive,
West Berlin, NJ 08091 (atgiuliano@giulianomiller.com); and (ii) counsel to the Trustee, Cozen
O’Connor, 1201 North Market Street, Suite 1001, Wilmington, DE 19801, Attention: John T.
Carroll, III (jcarroll@cozen.com).

        5.      A hearing to approve the Sale (the “Sale Hearing”) will be held on December
12, 2018 at 10:00 a.m. (prevailing Eastern Time), at the United States Bankruptcy Court for
the District of Delaware, 824 North Market Street, 5th Floor, Courtroom No. 6, Wilmington,
Delaware 19801, before the Honorable Christopher S. Sontchi. The Sale Hearing may be
adjourned by the Trustee from time to time without further notice to creditors or other parties in
interest other than by announcement of the adjournment in open court on the date scheduled for
the Sale Hearing, or by filing a notice on the docket of the Bankruptcy Cases.

         6.     Except as otherwise provided in the Sale Order and the Stalking Horse Agreement
or, if applicable, in any Alternative Asset Purchase Agreement, the sale will be free and clear of
any and all Liens, claims (as defined in section 101(5) of the Bankruptcy Code), encumbrances,
obligations, Liabilities, demands, guarantees, options, rights, restrictions, contractual
commitments, rights of first refusal, rights of setoff, or interests of any kind or nature that have
been, are or could be asserted against the Estates, the Debtors, or the Purchased Spaceful Assets,
whether known or unknown, legal or equitable, matured or unmatured, contingent or
noncontingent, liquidated or unliquidated, asserted or unasserted, whether arising prior to or
subsequent to the commencement of the Bankruptcy Cases, whether imposed by agreement,
understanding, law, equity or otherwise (collectively, “Interests”) pursuant to section 363(f) of
the Bankruptcy Code, and the Sale Order will provide that the Stalking Horse Purchaser or other
successful purchaser will have no liability to creditors or other parties in interest under principles
of successor liability or otherwise. UNLESS AN OBJECTION IS TIMELY FILED AND
SERVED IN ACCORDANCE WITH THIS NOTICE, HOLDERS OF INTERESTS AND
OTHER CREDITORS AND PARTIES IN INTEREST RECEIVING THIS NOTICE WILL BE
DEEMED TO HAVE CONSENTED TO SUCH RELIEF AND WILL BE BOUND BY THE
TERMS OF THE ORDER APPROVING THE SALE.

        7.     Pursuant to the Bidding Procedures Order, any objections to the Sale (“Sale
Objections”) must be set forth in writing and must state with particularity the grounds for such
objections or other statements of position. Sale Objections must be filed with the Clerk of the
Bankruptcy Court, at United States Bankruptcy Court for the District of Delaware, 3rd Floor,
824 North Market Street, Wilmington, Delaware 19801, together with proof of service, and
served on (i) the Trustee, Alfred T. Giuliano, Giuliano, Miller & Company, LLC, 140 Bradford
Drive, West Berlin, NJ 08091 (atgiuliano@giulianomiller.com); and (ii) counsel to the Trustee,
Cozen O’Connor, 1201 North Market Street, Suite 1001, Wilmington, DE 19801, Attention:
John T. Carroll, III (jcarroll@cozen.com) (collectively, the “Sale Objection Notice Parties”), so
as to be received by no later than 4:00 p.m. (prevailing Eastern Time) on November 28, 2018;
provided that objections to the conduct of the Auction or selection of the Successful Bid or Back-

LEGAL\38028491\3 00600.9698.000/420979.000
11/08/2018
                                                   2
                    Case 17-12937-CSS        Doc 204   Filed 11/08/18     Page 3 of 3



Up Bid shall be in writing, filed with the Clerk of the Bankruptcy Court, together with proof of
service, and served so as to be received by the Sale Objection Notice Parties on or before 4:00
p.m. (prevailing Eastern Time) on December 7, 2018. UNLESS AN OBJECTION IS
TIMELY FILED AND SERVED IN ACCORDANCE WITH THIS NOTICE, IT MAY NOT BE
CONSIDERED BY THE COURT AND THE COURT MAY GRANT THE RELIEF
REQUESTED WITHOUT FURTHER HEARING AND NOTICE.

       8.      This Notice is subject to the fuller terms and conditions of the Stalking Horse
Agreement and the Bidding Procedures Order, which shall control in the event of any conflict,
and the Trustee encourages parties-in-interest to review such documents in their entirety.



Dated: November 8, 2018
       Wilmington, Delaware                            COZEN O’CONNOR

                                                       /s/ John T. Carroll, III
                                                By:
                                                       John T. Carroll, III (DE No. 4060)
                                                       1201 North Market Street
                                                       Suite 1001
                                                       Wilmington, DE 19801
                                                       Telephone: (302) 295-2028
                                                       Facsimile: (302) 295-2013
                                                       jcarroll@cozen.com

                                                       Eric L. Scherling, Esq.
                                                       One Liberty Place
                                                       1650 Market Street
                                                       Suite 2800
                                                       Philadelphia, PA 19103
                                                       Telephone: (215) 665-2042
                                                       Facsimile: (215) 701-2081
                                                       escherling@cozen.com

                                                       Counsel for Alfred T. Giuliano,
                                                       Chapter 7 Trustee




LEGAL\38028491\3 00600.9698.000/420979.000
11/08/2018
                                                   3
